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                              IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLORADO
                                  JUDGE CHARLOTTE N. SWEENEY


   Civil Action:             21-cv-02063-CNS-SBP       Date: November 3, 2023
   Courtroom Deputy:         Julie Dynes               Court Reporter: Sarah Mitchell

                   Parties                                         Counsel

   CITY OF FORT COLLINS                                         Case Collard
                                                                 John Duval
                                                                Maral Shoaei
                                                               Andrea Wechter
                        Plaintiff/Counter Defendant

   v.

   OPEN INTERNATIONAL LLC                                      Kevin McAdam
   OPEN INVESTMENTS LLC                                       Alexandria Pierce
                                                                Paul Swanson
                                                              Alexander White
                        Defendant/Counter Claimant


                                       COURTROOM MINUTES


   JURY TRIAL DAY TEN

   Court in Session: 10:11 a.m.

   Jury deliberation questions reviewed.

   Jury present.

   Deliberation questions answered.

   Jury excused to continue deliberations.

   10:45 a.m.      Court in recess.
   12:49 p.m.      Court in session.

   Discussion held on partial jury verdict.
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   12:52 p.m.      Court in recess.
   1:09 p.m.       Court in session.

   Discussion held on how to proceed.

   Jury present.

   Jury instructed and excused to continue deliberations.

   Discussion held on the Rule 50 motions.

   1:17 p.m.       Court in recess.
   2:23 p.m.       Court in session.

   Verdict reached. Verdict found in favor of the plaintiff, see verdict for details.

   Jury excused.

   Discussion held on Oral Argument. Parties are to email Chambers as to which date works best
   by Monday November 6, 2023.

   Court in Recess: 2:36 p.m.             Trial concluded.               Total time in Court: 00:58

   Clerk’s note: Exhibits and depositions returned to counsel or a representative of counsel.
                 Counsel to retain exhibits and depositions until such time as all need for the
                 exhibits has terminated and the time to appeal has expired or all appellate
                 proceedings have been terminated plus sixty days.
